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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


WIND RIVER MANAGEMENT CORP                     §
                                               §
                      Plaintiff                §
                                               §                              3:17-cv-2674
V.                                             §     CIVIL ACTION NO. ___________________
                                               §
                                               §
FEDERAL INSURANCE COMPANY                      §
& WALTER HAESSIG                               §
                                               §
                      Defendants               §

     DEFENDANT FEDERAL INSURANCE COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Defendant Federal Insurance Company (“FIC”) respectfully notifies this Court of

removal of the above-entitled action to the United States District Court for the Northern District

of Texas, Dallas Division and for the Notice of Removal states:

                                           I.
                                   PROCEDURAL HISTORY

        1.     This action, entitled Wind River Management Corp v. Federal Insurance

Company & Walter Haessig, pending in the 44th Judicial District Court of Dallas County, Texas,

Cause No. DC-17-10938, was commenced against Defendants via the filing of Plaintiff’s

Original Petition (the “Petition”) on or about August 28, 2017.

        2.     Defendant FIC was served with the citation and Petition on September 11, 2017.

Accordingly, this notice of removal is timely filed pursuant to 28 U.S.C. § 1446(b).

        3.     Plaintiff alleges causes of action against Defendant FIC for breach of contract,

violations of the Texas Insurance Code, and breach of the duty of good faith and fair dealing.

See Petition at 6-8. Plaintiff alleges causes of action against Defendant Haessig for violations of

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the Texas Insurance Code as an individual adjuster. See id. Plaintiff claims actual damages,

compensatory damages, attorneys’ fees, court costs, 18% statutory penalty damages, treble

damages, pre-judgment interest, and post-judgment interest. See id. at 9-10.

                                           II.
                               CITIZENSHIP OF THE PARTIES

        4.     Plaintiff is a for-profit corporation formed in the State of Texas with its principal

place of business in Duncanville, Texas. On information and belief, Plaintiff is and was at the

time this action commenced, a citizen of the State of Texas. Defendant FIC is an insurance

company organized under the laws of the State of Indiana with its principal place of business in

the State of Indiana and New Jersey.         FIC is now, and was at the time this action was

commenced, a citizen of New Jersey. Defendant Walter Haessig has been improperly joined and

his citizenship should be disregarded for the purposes of determining diversity jurisdiction.

Thus, removal is proper because there is complete diversity between the properly joined parties

under 28 U.S.C. § 1332.

                                          III.
                                 VENUE AND JURISDICTION

        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the state

court where the suit has been pending is located in this district and division.

        6.     The Fifth Circuit issued an opinion instructing district courts to apply federal

pleading standards when determining whether a non-diverse defendant has been improperly

joined for jurisdictional purposes. See Int’l Energy Ventures Mgmt., L.L.C. v. United Energy

Grp., Ltd., 818 F.3d 193, 202 (5th Cir. 2016). The Fifth Circuit recognizes two ways to establish

improper joinder: (1) actual fraud in the pleading of facts establishing jurisdiction; or (2) lack of

a reasonable basis for the district court to predict that the plaintiff might be able to recover


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against a non-diverse defendant. Id. at 205; see Smallwood v. Illinois Cent. R.R. Co., 385 F.3d

568, 573 (5th Cir. 2004) (en banc), cert. denied 544 U.S. 992 (2005). In determining whether

there is a reasonable basis to predict a plaintiff may recover against a non-diverse defendant, the

court applies a Rule 12(b)(6)-type analysis to determine if the pleading contains facts sufficient

to state a claim on its face. Int’l Energy, 818 F.3d at 208. The court may also “pierce the

pleadings and conduct a summary inquiry” to determine whether a reasonable basis exists to

predict the plaintiff may prevail against the non-diverse defendant. See Smallwood, 385 F.3d at

573.

        7.        To properly join an adjuster such as Defendant Haessig, “[a plaintiff] must allege

that [the adjuster defendant], as an individual, committed the violation that caused the harm.”

Moore v. State Farm Mut. Auto Ins. Co., 2012 U.S. Dist. LEXIS 127564, *12 (S.D. Tex. Sept. 6,

2012) (citing Hornbuckle v. State Farm Lloyds, 385 F.3d 538, 544 (5th Cir. 2004)). This means

a plaintiff cannot plead collectively or in a conclusory manner but rather must provide a “factual

fit between the plaintiff’s allegation and the pleaded theory of recovery.” See Griggs v. State

Farm Lloyds, 181 F.3d 694, 701 (5th Cir. 1999); see also Cortez v. Meritplan Ins. Co., 2013 U.S.

Dist. LEXIS 179691, *5-6 (S.D. Tex. Dec. 20, 2013) (holding pleading collectively and in a

conclusory manner creates only an insufficient theoretical possibility of recovery).

        8.        Plaintiff’s lawsuit arises from a first-party insurance claim for “covered losses in

the form of wind and/or hail damage.” See Petition at 2. Plaintiff alleges, albeit in a conclusory

and contradictory manner, “ADJUSTER DEFENDANT” Haessig failed to perform a reasonable

investigation and failed to effectuate a prompt, fair, and equitable settlement of Plaintiff’s claim.

See id. at 3-4.




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        9.       Plaintiff’s pleaded facts fail to provide a reasonable basis to conclude Plaintiff has

a valid claim against Defendant Haessig. Plaintiff’s pleading merely contains vague and

conclusory recitations of claims with little to no factual support. See id. Because Plaintiff has

not pleaded facts which fit a properly pleaded theory of recovery, there is no reasonable basis to

allow this Court to conclude Plaintiff has a valid claim against Defendant Haessig. Given this,

the Court should disregard Defendant Haessig’s citizenship for purposes of the removal

determination.

        10.      Further, an individual adjuster such as Defendant Haessig is not liable under the

specific statutory provisions underlying Plaintiff’s claims. See Mainali Corp. v. Covington

Specialty Ins. Co., No. 15-CV-1087, 2015 U.S. Dist. LEXIS 115191, at *15 (N.D. Tex. Aug. 31,

2015) (Fitzwater, J.) (holding an insured could not recover against an adjuster under Texas

Insurance Code § 541.060(a)(2)(A), (a)(3) or (a)(7) because those provisions target the behavior

of the insurer, not an adjuster).

        11.      Additionally, Plaintiff’s pleading misstates and/or omits discrete facts that would

determine the impropriety of joinder. Contrary to the allegations in Plaintiffs’ Original Petition,

the adjuster who first investigated Plaintiff’s claim was Michael Fairley, not Defendant Haessig.

See Exhibit B. Mr. Fairley, after investigating Plaintiff’s claim for wind and hail damage with

the aid of a consultant, advised Plaintiff of FIC’s determination that the covered loss did not

exceed Plaintiff’s deductible. Id. After Plaintiff retained a public adjuster, it was again Fairley

who re-inspected the loss, reviewed the public adjuster’s information, and subsequently sent

additional correspondence reaffirming FIC’s earlier coverage decision. Id. It was not until

October 2016, nearly a year after the claim was made, that Defendant Haessig was asked to

inspect the loss yet again with Plaintiff’s public adjuster because Fairley had relocated out of


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state. Id. Following that inspection, Defendant Haessig sent correspondence that reiterated

FIC’s prior coverage decision, spelling out in detail the policy provisions on which FIC relied.

Id. Despite Plaintiff’s conclusory allegations, it is clear that (1) Defendant Haessig had no

responsibility to effectuate a prompt, fair and equitable settlement of Plaintiff’s claim because

FIC’s liability was not reasonably clear; (2) Defendant Haessig did not fail to provide a

reasonable explanation under the terms of the policy as to why Plaintiff’s claim was not being

paid by FIC; and (3) Defendant Haessig did not deny Plaintiff’s claim without conducting a

reasonable investigation. Thus, there is no reasonable basis for predicting that Texas law will

impose liability on Haessig or that Plaintiff can establish a cause of action against Haessig in

state court. Haessig has been improperly joined for the sole purpose of defeating diversity

jurisdiction in this court.

                                         IV.
                               AMOUNT IN CONTROVERSY

        12.     Plaintiff seeks monetary relief, “the maximum of which is over $1,000,000.” See

Petition at 2. Thus, the amount in controversy requirement of 28 U.S.C. § 1332(a) is satisfied

because it is “facially apparent” the amount in controversy exceeds $75,000. See Allen v. R&H

Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995).

                                           V.
                                      ATTACHMENTS

        13.     In accordance with 28 U.S.C. § 1446(a) and Local Rule 81.1 of the Northern

District of Texas, Defendant FIC has attached to this Notice of Removal an appendix containing

the required documents. See Exhibit A.




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                                           VI.
                                 NOTICE TO STATE COURT

         14.   Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this notice of

removal will promptly be given to all parties and to the clerk of the 44th District Court of Dallas

County, Texas.

                                             VII.
                                        JURY DEMAND

         15.   Pursuant to Federal Rule of Civil Procedure 38, Defendant FIC demands a trial by

jury.

                                            VIII.
                                         CONCLUSION

         16.   WHEREFORE, PREMISES CONSIDERED, Defendant FIC respectfully gives

notice this state court action has been removed and placed on this Court’s docket for further

proceedings. FIC further requests any additional relief to which it may be justly entitled.




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                                    Respectfully submitted,



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                                    INSURANCE COMPANY AND WALTER
                                    HAESSIG




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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to the following counsel of record in accordance with the Federal Rules of Civil
Procedure, on this the 29th day of September, 2017.


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                                                /s/Jennifer G. Martin
                                                JENNIFER G. MARTIN




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